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AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

 

United States of America
Vv.

Insys Pharma, Inc.

Case No. 19-cr-10191-RWZ

 

SS

Defendant

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 06/07/2019 Mt Uf Ve (> = Lhd ot Snsy/ Phere Tx. )

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Defendant's signature

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Tia )
Signature oft defendant's attorney

Matthew J. O'Connor

Printed name of defendant's attorney

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om, LAL
udge ’s signature

United States District Judge Rya W. Zobel
Judge's printed name and title

 
